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6
7                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
8
9    SCOTT JOHNSON                                 )   Case No.: 3:21-cv-04112-MMC
                                                   )
10            Plaintiff,                           )   NOTICE OF SETTLEMENT AND
                                                   )   REQUEST TO VACATE ALL
11     v.                                          )   CURRENTLY SET DATES
                                                   )
12   NEW ERA ENERGY LLC, a California              )
     Limited Liability Company;                    )
13   SANJIV N. PATEL                               )
14            Defendants.
15
16           The plaintiff hereby notifies the court that a provisional settlement has been
17   reached in the above-captioned case. The Parties would like to avoid any additional
18   expense while they focus efforts on finalizing the terms of the settlement and reducing it
19   to a writing. The plaintiff, therefore, applies to this Honorable Court to vacate all
20   currently set dates with the expectation that the settlement will be consummated within
21   the coming sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice
22   as to all parties to be filed.

23                                      CENTER FOR DISABILITY ACCESS

24
25   Dated: October 05, 2021            By: /s/ Amanda Seabock
                                               Amanda Seabock
26
                                              Attorney for Plaintiff
27
28


     Notice of Settlement             -1-        3:21-cv-04112-MMC
